Case 2:OB-cr-ZOOZUHEQNM§¥ATE§YI§§QIH%M@ 1 of 2 Page|D 29

FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

   

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UNITED STATES OF AMERICA

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vs. CR. NO. 205cr20020-13LCT C@UM
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JEFFREY P. DALLAS

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On August l6, 2005, Jeffrey P. Dallas appeared before me on a charge of violation of the
terms and conditions of his supervised release in this matter. The defendant had previously been
advised of his lights under Fed.R.Crim.P. 5 and 32.1(a), and counsel was appointed

At this hearing, the defendant Was released on bond and, therefore, a preliminary hearing on

the violation Was not required. W United States v. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976) and

 

United States v. TLker, 524 F.2d 77, 78 (Sth Cir. 1975), QC_I`L M, 424 U.S. 966, 96 S.Ct. 1462,
47 L.Ed.2d 733 (1976).

Accordingly, defendant, Jeffrey P. Dallas is held to a final revocation hearing before United
States District Judge J. Daniel Breen. lt is presumed that the District Judge Will set this matter for

a revocation hearingr pursuant to Fed.R.Crim.P. 32. l (b), (c), and will see that appropriate notices are

IT ls so oRDERED this id dayof /JW?M&T` , .
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TU M. PHAM
UNITED sTATEs MAGlsTRATE JUDGE

given.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
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Honorable .l. Breen
US DISTRICT COURT

